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  8
  9                                  UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
 10                                       WESTERN DIVISION
 11 ALS SCAN, INC.,                                         Case No. 2:16-cv-05051-GW-AFM
 12            Plaintiff,                                   [DISCOVERY MATTER]
 13            vs.                                          JOINT STIPULATION RE: DEFENDANT
 14 CLOUDFLARE, INC., et al.,                               CLOUDFLARE, INC.’S MOTION FOR
                                                            PROTECTIVE ORDER REGARDING ALS
 15          Defendants.                                    SCAN, INC.’S DEPOSITION NOTICE
 16                                                         DIRECTED TO MATTHEW PRINCE
 17                                                         Hearing Date:    October 10, 2017
                                                            Hearing Time:    10:00 AM
 18                                                         Place: Courtroom 840, 8th Fl.
 19                                                                255 East Temple Street
                                                                   Los Angeles, California 90012
 20                                                         Judge: Hon. Alexander MacKinnon
 21
 22
 23
 24
 25
 26
 27
 28

                             JOINT STIPULATION RE: CLOUDFLARE’S MOTION FOR PROTECTIVE ORDER

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  1            Pursuant to Local Rule 37-2, Defendant Cloudflare, Inc. (“Cloudflare”) and
  2 Plaintiff ALS Scan, Inc. (“ALS Scan”) respectfully submit this Joint Stipulation
  3 Regarding Cloudflare’s Motion for Protective Order concerning the noticed deposition
  4 of Cloudflare’s Chief Executive Officer, Matthew Prince.
  5 I.         PRELIMINARY STATEMENTS
  6            A.       Cloudflare’s Preliminary Statement
  7            Cloudflare seeks a protective order precluding ALS Scan’s request to depose
  8 Cloudflare’s Chief Executive Officer Mr. Matthew Prince, because Mr. Prince has no
  9 unique personal knowledge relevant to ALS Scan’s claims, and the discovery ALS
 10 seeks from Mr. Prince is either irrelevant or is available through less burdensome
 11 means.
 12            After almost a year of discovery efforts, neither party has identified Mr. Prince as
 13 an individual with knowledge relevant to this litigation, nor has he submitted any
 14 declarations or been identified in discovery responses or documents as a relevant
 15 witness in this matter. Instead, on the eve of the close of the discovery period, and just
 16 days before the parties’ scheduled mediation in this case, ALS Scan suddenly asserted
 17 that Mr. Prince must be deposed because he “has made himself a key witness” by
 18 publishing an article in the Wall Street Journal regarding net neutrality and free speech
 19 issues. But these issues have no bearing on the factual or legal circumstances of this
 20 copyright case. And even if Mr. Prince did possess some knowledge relevant to this
 21 case, there are dozens of lower-ranking employees who could provide the necessary
 22 discovery. ALS Scan’s demand to depose Mr. Prince falls far short of the stringent
 23 requirements for deposing high-ranking executives set by governing case law.
 24 Cloudflare’s motion for a protective order should be granted.
 25            B.       ALS Scan’s Preliminary Statement
 26            This is not a case in which over-zealous plaintiffs notice the deposition of a
 27 corporate CEO, whose knowledge is distant and cumulative, for the purpose of
 28 ratcheting nuisance and settlement value. To the contrary, Mr. Prince interjected
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  1 himself into the public dialogue by bragging in numerous public statements, including a
  2 Wall Street Journal opinion piece, that Cloudflare kicked a neo-Nazi site, Daily
  3 Stormer, “off the internet.” Mr. Prince also said: “Our terms of use give us broad
  4 discretion to choose whom we allow to use our network.”
  5         Mr. Prince’s statements stand in stark contrast to Cloudlfare’s testimony in this
  6 case that Cloudflare cannot remove content from the internet. They also contrast with
  7 Cloudflare’s disclosures in this case that it has only terminated services to repeat
  8 copyright infringers when presented with a court adjudication of infringement.
  9         The questions that follow from Mr. Prince’s statement and Cloudflare’s
 10 disclosures are i) who created this narrow policy of termination only upon receipt of
 11 court adjudication of infringement, ii) could this policy be changed, iii) who could
 12 change it and iv) why hasn’t Cloudflare terminated any of the websites at issue in this
 13 case despite receipt by Cloudflare of tens, hundreds and in one case over one thousand
 14 emails from ALS’s agent Steve Easton directly copyright infringement on Cloudflare’s
 15 customers’ sites. The answers: all of these policies can be changed or determined in the
 16 sole discretion of Matthew Prince.
 17         ALS attempted to inquire into these topics through the less-intrusive means of a
 18 deposition of Cloudflare under FRCP R. 30(b)(6) but Cloudflare’s testimony, by
 19 designee Trey Guinn, was useless. Mr. Guinn admitted that he failed to prepare for the
 20 deposition by speaking to Mr. Prince, and had merely surmised Mr. Prince’s reasoning
 21 from having worked at Cloudflare for years and from Mr. Prince’s public statements.
 22 When asked the basis for Mr. Prince’s determination that neo-Nazi hate speech was a
 23 violation of terms warranting termination of service, Mr. Guinn offered non-responsive
 24 pablum, about the intended effect of the decision – to be “provocative” and “start a
 25 conversation.” When pressed for a responsive answer, Mr. Guinn admitted that the
 26 decision to terminate Daily Stormer was at the “discretion” and “say” of Prince. When
 27 asked why, if Cloudflare could terminate neo-Nazis it could not do more to terminate
 28 repeat copyright infringers, Mr. Guinn again gave a non-responsive answer and
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  1 admitted that the decision to terminate customers for repeat copyright infringement was
  2 up to Mr. Prince.
  3         Cloudflare has admitted that the grounds for termination of services to a
  4 customer for repeat infringement is up to Mr. Prince. His testimony is highly relevant
  5 and not remote or merely cumulative. Only he knows the answers. ALS is entitled to
  6 his testimony.
  7 II.     THE DISCOVERY REQUEST AT ISSUE
  8         On August 23, 2017, ALS Scan served a deposition notice on Cloudflare seeking
  9 to take the deposition of Matthew Prince, Cloudflare’s Chief Executive Officer, on
 10 September 14, 2017 at the offices of Quinn Emanuel Urquhart & Sullivan, LLP in San
 11 Francisco, California (the “Prince Deposition Notice”). See Declaration of Rachel
 12 Kassabian (“Kassabian Decl.”) filed concurrently herewith, Ex. A (Prince Deposition
 13 Notice).
 14 III.    CLOUDFLARE’S POSITION
 15         A.    Factual Background
 16         Cloudflare is an internet infrastructure service provider that offers web
 17 optimization and cybersecurity services. In this case, ALS Scan alleges claims against
 18 Cloudflare for contributory copyright infringement, contending that various Cloudflare
 19 customers operate websites that display unauthorized copies of ALS Scan’s photosets.
 20 Cloudflare has vigorously denied ALS Scan’s claims.
 21               1.     Neither Party Identifies Cloudflare CEO Mr. Prince as a
                         Relevant Witness.
 22
 23         The parties began discovery efforts in late 2016, and those efforts have continued
 24 throughout this litigation to the present time. To date, none of ALS Scan’s written
 25 discovery requests have asked for information related to Mr. Prince. Kassabian Decl. ¶
 26 6. None of Cloudflare’s responses referenced Mr. Prince or indicated he might have
 27 personal knowledge of relevant facts. Id. Prior to the Prince Deposition Notice, neither
 28
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  1 party had identified Mr. Prince as a potential witness nor indicated he might possess
  2 discoverable information. Id. ¶¶ 5-6.
  3               2.     Mr. Prince Authors a Wall Street Journal Article Regarding
                         Cloudflare’s Decision to Terminate its Relationship with a
  4                      Highly Controversial Neo-Nazi Website.
  5         On August 22, 2017, the WALL STREET JOURNAL published an article authored by
  6 Mr. Prince titled “Was I Right to Pull the Plug on a Nazi Website?” (the “WSJ
  7 Article”), available at https://www.wsj.com/articles/was-i-right-to-pull-the-plug-on-a-
  8 nazi-website-1503440771. In the WSJ Article, Mr. Prince stated that he “helped kick a
  9 group of neo-Nazis off the internet last week, but since then I’ve wondered whether I
 10 made the right decision.” Prince Decl. ¶ 4. Mr. Prince explained in the WSJ Article
 11 that the neo-Nazi site, Daily Stormer, “was constantly targeted by anti-Nazi hackers
 12 trying to knock it offline.” Id. However, as a Cloudflare client, “Cloudflare had helped
 13 foil those cyberattacks until last week when Cloudflare terminated its account.” Id.
 14         Mr. Prince explained that Cloudflare had been receiving a large number of abuse
 15 reports regarding the site, and that the neo-Nazi website, however, was using the
 16 forwarded complaints to identify the complainants, and then harassing them, stalking
 17 them, and threatening them in various ways. Id. ¶ 6. Cloudflare determined it could
 18 not permit its Abuse reporting system to be abused in the form of retaliatory
 19 harassment. Id. Additionally, the Daily Stormer began claiming that Cloudflare
 20 secretly supported their ideology, causing a major distraction to the Company. Id. ¶ 7.
 21 The WSJ Article was intended as an intellectual exercise to start a conversation
 22 regarding censorship and free speech on the internet. Id. ¶ 8. The WSJ Article had
 23 nothing to do with copyright infringement issues or Cloudflare’s DMCA policy and
 24 procedure. Id. When Mr. Prince stated in the WSJ Article that “[he] helped kick a
 25 group of neo-Nazis off the internet last week,” his comments were intended to illustrate
 26 a point – not to be taken literally. Id. ¶ 9. Everyone in the internet technology field
 27 (which was Mr. Prince’s intended audience) knows that Cloudflare cannot, as a
 28 technical matter, kick anyone off the internet, even temporarily, because Cloudflare is
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  1 not a hosting provider. Id. Cloudflare has no ability to delete content hosted on
  2 websites run by its customers, nor does Cloudflare have the ability to delete the
  3 websites themselves. Id. If Cloudflare terminates a customer, such as was referenced
  4 in the full context of the WSJ Article, the customer’s websites do not disappear from
  5 the internet – that is not possible from a technical perspective – they merely become
  6 more vulnerable to distributed denial of service (DDOS) attacks. Id. ¶ 10.
  7        During the parties’ meet and confer regarding Cloudflare’s planned protective
  8 order motion, ALS Scan admitted that the only reason it is seeking Mr. Prince’s
  9 deposition is because of the WSJ Article. Kassabian Decl. ¶ 4.
 10               3.     Mr. Prince’s Lack of Unique Personal Knowledge Regarding
                         the Issues Relevant to this case.
 11
 12        Mr. Prince lacks unique personal knowledge regarding Cloudflare’s DMCA
 13 policy and procedure and its published Terms of Service. The various members of
 14 Cloudflare’s Trust and Safety Team, among other employees, have the requisite
 15 knowledge and expertise to testify regarding these issues. Prince Decl. ¶ 5, 8. Mr.
 16 Prince also lacks unique personal knowledge regarding Cloudflare’s technology and
 17 services, including the specifics of what happens when a Cloudflare customer account
 18 is terminated. There are many Cloudflare engineers who could speak to the issue of
 19 what happens as a technical matter when Cloudflare terminates a customer account. Id.
 20 ¶ 9.
 21               4.     ALS Scan Serves a Deposition Notice Upon Mr. Prince, and a
                         Rule 30(b)(6) Notice Seeking Corporate Testimony on the Same
 22                      Topics About Which it Seeks to Depose Mr. Prince.
 23        On August 23, 2017, ALS Scan served Cloudflare with a deposition notice
 24 directed to Mr. Prince. Kassabian Decl. Ex. A (Prince Deposition Notice). When
 25 Cloudflare asked what possible relevance Mr. Prince had to this case, ALS responded
 26 that Mr. Prince was relevant in light of his authorship of the WSJ Article. Kassabian
 27 Decl. ¶ 4.
 28
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  1         Simultaneously with service of the Prince deposition notice, ALS Scan also
  2 served a revised 30(b)(6) deposition notice to Cloudflare, in which it added four new
  3 topics to the previous iteration of its 30(b)(6) deposition notice to Cloudflare:
  4         Topic 13: How did Cloudflare “kick a group of neo-Nazis off the
            internet?” Matthew Prince, Wall Street Journal, August 23, 2017.
  5
  6         Topic 14: Can Cloudflare kick copyright infringers off the internet? If
            not, how is it that Cloudflare can kick neo-Nazis off the Internet but not
  7
            copyright infringers?
  8
            Topic 15: Why hasn’t Cloudflare kicked copyright infringers off the
  9
            Internet, except upon receipt of a court order?
 10
            Topic 16: If Cloudflare’s “terms of use give [it] broad discretion to
 11
            choose whom we allow to use our network,” why hasn’t Cloudflare used
 12         that discretion to choose not to allow the Websites to use Cloudflare’s
            network?
 13
 14 Id. Ex. B (ALS Scan's 30(b)(6) notice). On September 5, 2017, Cloudflare designated
 15 Cloudflare Solution Engineer Trey Guinn as its corporate witness on these topics. Id. ¶
 16 2. Mr. Guinn already was deposed in this case, and during that deposition he gave
 17 testimony regarding similar issues:
 18         Q: Could Cloudflare’s customer websites still be accessed if they stopped
 19         using Cloudflare?

 20         A: They could be. They would be slower, but they could still be
 21         accessed. The -- the exact same content would be there with or without
            Cloudflare.
 22
 23         Q: So if tomorrow a customer cancels its Cloudflare account, the
            following day when a website -- when a website user visited that -- visits
 24         that website, is the website still going to be visible?
 25
            A: The website will still be visible, and the website will be exactly the
 26         same. It will likely just be a bit slower.
 27
      Kassabian Decl. Ex. C (Guinn Deposition), at 94:1-13 (objection omitted).
 28
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  1                5.     The Parties Meet and Confer Regarding Cloudflare’s Objection
                          to the Prince Deposition Notice.
  2
            During the parties’ Rule 37-1 conference of counsel, ALS Scan stated that Mr.
  3
      Prince would not have been relevant to this case had he not written the WSJ Article.
  4
      Kassabian Decl. ¶ 4. ALS Scan explained its position that Mr. Prince had unique,
  5
      personal knowledge regarding the WSJ Article itself (i.e., what he meant and why he
  6
      wrote it), as well as how Cloudflare interprets its terms of service to determine which
  7
      accounts to terminate. Id. ALS Scan also stated that Mr. Prince was in a unique
  8
      position as “the boss” such that he could direct his subordinates how to interpret
  9
      Cloudflare’s terms of service, including its repeat infringer policies, and to terminate an
 10
      account. Id. In response, Cloudflare explained that the WSJ Article had nothing to do
 11
      with copyright infringement, Cloudflare’s DMCA policies and procedures, or any facts
 12
      relevant to this case. Id. Rather, each of the subject areas ALS Scan identified were
 13
      either irrelevant or could be handled by more appropriate, lower-level employees. Id.
 14
            B.     Legal Standard
 15
            Pursuant to Fed. R. Civ. P. 26(c), the “court may, for good cause, issue an order
 16
      to protect a party or person from annoyance, embarrassment, oppression, or undue
 17
      burden or expense, including [by] forbidding the disclosure or discovery.”
 18
            Courts have long recognized that depositions of high-ranking executives present
 19
      the potential for abuse, harassment, and undue burden, and thus, an apex witness
 20
      deposition will only be permitted if “the deponent has unique first-hand, non-repetitive
 21
      knowledge of the facts at issue in the case and [] the party seeking the deposition has
 22
      exhausted other less intrusive discovery methods.” Reinsdorf v. Skechers U.S.A., Inc.,
 23
      No. 10-cv-07181, 2012 WL 12883889, *2 (C.D. Cal. May 9, 2012) (denying motion to
 24
      compel deposition of apex witness after failure to demonstrate unique personal
 25
      knowledge or the exhaustion of less burdensome means of discovery) (citation
 26
      omitted); see also Perfect 10, Inc. v. Google Inc., No. 04-cv-9484-AHM (C.D. Cal. July
 27
      20, 2010) (Dkt. 930) (granting motion for a protective order where apex witness lacked
 28
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   1 unique, personal knowledge relevant to the merits of the lawsuit and plaintiff failed to
   2 demonstrate the inability to obtain the information through other means); Anderson v.
   3 County of Contra Costa, No. 15-cv-01673, 2017 WL 930315, *3 (N.D. Cal. Mar. 9,
   4 2017) (denying motion to compel an apex witness deposition).
   5        Thus, an apex deposition will not be permitted where the apex witness does not
   6 have unique, non-repetitive, first hand knowledge of the specific issues or incidents at
   7 issue in the lawsuit. See K.C.R. v. County of Los Angeles, No. CV 13–3806, 2014 WL
   8 3434257 (C.D. Cal. July 11, 2014) (denying motion to compel apex deposition where
   9 “[i]t is undisputed that [the apex witness] does not have first-hand knowledge of the
 10 specific shooting at issue in this case”); Perfect 10, No. 04-cv-9484(Dkt. 930).
 11 Moreover, limitations on apex witness depositions are appropriate “where the
 12 information sought can be obtained through less intrusive discovery methods, such as
 13 by interrogatory or depositions of lower-level employees with more direct knowledge
 14 of the facts at issue.” Somers v. Dig. Realty Tr. Inc., 2016 WL 7157505, at *1 (N.D.
 15 Cal. Dec. 8, 2016) (quoting Affinity Labs of Tex. v. Apple, Inc., 2011 WL 1753982, at
 16 *15 (N.D. Cal. May 9, 2011)); see also Robertson v. McNeil-PPC Inc., No. 11-cv-
 17 09050, 2014 WL 12576817 (C.D. Cal. Jan. 13, 2014) (reversing denial of protective
 18 order where plaintiff “has not exhausted other means of obtaining the information that
 19 she seeks” from the apex witness); Google, Inc. v. Am. Blind & Wallpaper Factory,
 20 Inc., No. 03-cv-5340, 2006 WL 2578277 at *3 n. 3 (N.D. Cal. Sept. 6, 2006) (“[C]ourts
 21 generally refuse to allow the immediate deposition of a high level executive [. . .]
 22 before the testimony of lower level employees with more intimate knowledge of the
 23 case has been secured.”); Mehmet v. PayPal, Inc., 2009 WL 921637 at *2 (N.D. Cal.
 24 Apr. 3, 2009) (“[Courts] generally refuse to allow the immediate deposition of a high-
 25 level executive, the so-called ‘apex deponents,’ before the depositions of lower level
 26 employees with more intimate knowledge of the case.”) (emphasis in original).
 27         The fact that an apex witness may have made public statements regarding general
 28 subject areas does not override these important safeguards. See Affinity Labs, 2011 WL
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   1 1753982, *10 (Steve Jobs’ public statements about the importance of the technology at
   2 issue were not evidence of first-hand knowledge of relevant information).
   3        C.    Argument
   4        Mr. Prince is Cloudflare’s highest-ranking executive, responsible for all of its
   5 employees and operations worldwide. He is also the public face of the company, with a
   6 demanding press and business schedule on top of his massive responsibilities
   7 overseeing all aspects of Cloudflare’s business operations.                The law precludes
   8 depositions of senior executives like Mr. Prince where, as here, the executive in
   9 question lacks any unique personal knowledge relevant to the case. Moreover, even
 10 when senior executives do have some degree of personal knowledge, courts still
 11 preclude such depositions when the information sought can be obtained by less
 12 intrusive means. Both factors are satisfied here.
 13               1.      Mr. Prince has no Unique Personal Knowledge Relevant to
                          ALS Scan’s Copyright Claims
 14
 15         Mr. Prince has no unique personal knowledge regarding ALS’s copyright claims.
 16         Neither party has identified Mr. Prince as a potential witness nor indicated he
 17 might possess discoverable information. Kassabian Decl. ¶¶ 5-6. None of ALS Scan’s
 18 requests have asked for information related to Mr. Prince. Id. None of Cloudflare’s
 19 responses referenced Mr. Prince or indicated he might have personal knowledge of
 20 relevant facts. Id.
 21         During the parties’ Local Rule 37-1 conference of counsel, ALS Scan claimed
 22 that Mr. Prince has unique, relevant knowledge in three subject areas: the WSJ Article
 23 itself, how Cloudflare interprets its terms of service to determine which accounts to
 24 terminate, and his unique position as “the boss” such that, for example, he could direct
 25 his subordinates how to interpret Cloudflare’s terms of service. Kassabian Decl. ¶ 4.
 26 ALS is wrong on all three counts.
 27         First, ALS Scan argues that Mr. Prince injected himself into the public forum
 28 with public statements about Cloudflare’s ability to kick undesirable clients off the
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   1 Internet and how Cloudflare applies terms to terminate services to clients. Kassabian
   2 Decl. ¶ 4. Thus, ALS Scan argues, Mr. Prince’s unique, first-hand knowledge is related
   3 to the WSJ Article itself, including what Mr. Prince meant by what he wrote. But Mr.
   4 Prince’s statements in the WSJ Article regarding issues of free speech on the internet
   5 are not related to “the facts at issue” in this copyright case. Reinsdorf, 2012 WL
   6 12883889, *2.
   7        Second, ALS Scan argues that Mr. Prince possesses knowledge related to
   8 Cloudflare’s Terms of Service. Kassabian Decl. ¶ 4. But any such knowledge Mr.
   9 Prince has is not unique, nor is it tied to “the facts at issue.” Reinsdorf, 2012 WL
 10 12883889, *2. Cloudflare’s Trust and Safety Department handles issues pertaining to
 11 terminations for violations of Cloudflare’s published policies. Prince Decl. ¶ 5. Prince
 12 Decl. ¶ 5, 8. Many lower-level Cloudflare engineers could speak to the issue of what
 13 happens as a technical matter when Cloudflare terminates a customer account. Id. ¶ 9.
 14         Third, ALS Scan argues that Mr. Prince possesses unique knowledge because he
 15 is an apex witness. As the CEO, ALS Scan claims Mr. Prince dictates Cloudflare
 16 policy and gives directions to lower-level personnel on how to interpret that policy,
 17 including whether to terminate accounts. Kassabian Decl. ¶ 4. For the same reason as
 18 ALS Scan’s other two arguments, this argument fails on its face. Broadly speaking, if
 19 being a CEO with authority over employees was sufficient in and of itself to be
 20 considered relevant to issues concerning the daily job functions of those employees,
 21 then the apex doctrine would not exist. See Reinsdorf, 2012 WL 12883889, *2.
 22                2.     ALS Scan May Obtain Relevant Discovery Through Less
                          Burdensome Means – Including the 30(b)(6) Deposition Notice
 23                       it Already Issued.
 24         Even if Mr. Prince had unique personal knowledge relevant to the facts of this
 25 case (which ALS Scan has not and cannot demonstrate), ALS Scan is required to first
 26 show that such information cannot be obtained through less burdensome means.
 27 Somers, 2016 WL 7157505, at *1. Here, there are many lower-level Cloudflare
 28
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   1 employees who could speak to the policy and technical issues about which ALS Scan
   2 seeks to depose Mr. Prince. Prince Decl. ¶ 5, 8-9.
   3        Indeed, not only do alternative witnesses exist, but two are being provided. ALS
   4 Scan has already propounded a notice of corporate deposition on the topics about which
   5 Mr. Prince could be expected to testify. Kassabian Decl. Ex. B (ALS Scan's 30(b)(6)
   6 notice). Indeed, Cloudflare has already designated non-apex corporate witnesses to
   7 testify on these subjects. Kassabian Decl. ¶ 2. That deposition is set to occur on
   8 September 15, 2017. Kassabian Decl. ¶ 2. ALS Scan must first take this less
   9 burdensome discovery and then demonstrate, if it can, that the result was somehow
 10 insufficient in a manner only testimony from Cloudflare’s CEO could cure before it can
 11 seek to depose Mr. Prince on these issues. Anderson, 2017 WL 930315, *3 (“Plaintiff
 12 shall first depose a Rule 30(b)(6) witness regarding the Jail’s policies and practices, and
 13 any other relevant topics, then meet and confer with Defendants about the necessity and
 14 scope of [an apex witness] deposition.”) (emphasis added); Robertson, 2014 WL
 15 12576817 at *20; Mehmet, 2009 WL 921637 at *2; Google, Inc., 2006 WL 2578277 at
 16 *3 n. 3. ALS Scan’s deposition notice to Mr. Prince should be quashed for this reason,
 17 too.
 18 IV.     ALS SCAN’S POSITION
 19         A.     Factual Background
 20         Cloudflare’s CEO, Matthew Prince interjected himself into the public debate
 21 about speech on the Internet in the wake of recent controversies concerning white
 22 supremacists. He wrote about Cloudflare’s decision to terminate services to one of its
 23 clients, Daily Stormer, a neo-Nazi site. See Matthew Prince, Why We Terminated Daily
 24 Stormer (Aug. 16, 2017), https://blog.cloudflare.com/why-we-terminated-daily-
 25 stormer/. Mr. Prince published an opinion piece in the Wall Street Journal on August
 26 23, 2017. There, he said: “I helped kick a group of neo-Nazis off the internet last
 27 week.” Also: “Our terms of use give us broad discretion to choose whom we allow to
 28 use our network.” Spillane Decl. ¶ 9 Ex. H.
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   1         Mr. Prince’s statement to the public that Cloudflare kicked neo-Nazis off the
   2 internet stand in sharp contrast to Cloudflare’s testimony in this case, where it claims it
   3 is powerless to remove content from the Internet. Said Trey Guinn, Cloudflare
   4 Solutions Engineer: “[A] caching server is like a mirror reflecting an object’s image.
   5 Removing the object eliminates the mirrored copy, but removing the mirror has no
   6 impact on the object itself. Thus, removing a host server’s content also removes the
   7 cache copy, whereas removing the cache copy has no impact on the permanent copy of
   8 the content sitting on the host server.” Doc. 124-2 ¶ 6.
   9         ALS sent a notice of deposition of Matthew Prince, but Cloudflare refused to
 10 produce him.
 11          ALS also sent a notice of the deposition of Cloudflare via FRCP R. 30(b)(6).
 12 Spillane Decl. ¶ 5 Ex. B. ALS sought to obtain testimony from Cloudflare’s corporate
 13 designee(s) concerning Cloudflare’s Terms of Service and also concerning Mr. Prince’s
 14 statements and their ramifications concerning termination of service to repeat copyright
 15 infringers.
 16          Cloudflare designated Justin Paine concerning Cloudflare’s Terms. Mr. Paine
 17 admitted that neither Cloudflare’s Terms of Service page nor its Abuse page disclosed
 18 to customers or to the public that conduct that violated Cloudflare’s Terms and could
 19 result in termination of services. Nor do Cloudflare’s Terms define the term “repeat
 20 infringer” or disclose the circumstances under which Cloudflare could determine that
 21 conduct constitutes repeat infringement. Spillane Decl. ¶¶ 5-7, Exs. B-F.
 22          Topics 13-16 were:
 23          13.   How did Cloudflare “kick a group of neo-Nazis off the internet?”
 24                Matthew Prince, Wall Street Journal, August 23, 2017.
 25          14.   Can Cloudflare kick copyright infringers off the internet? If not, how is
 26                it that Cloudflare can kick neo-Nazis off the Internet but not copyright
 27                infringers?

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   1         15.    Why hasn’t Cloudflare kicked copyright infringers off the Internet,
   2                except upon receipt of a court order?
   3         16.    If Cloudflare’s “terms of use give [it] broad discretion to choose whom
   4                we allow to use our network,” why hasn’t Cloudflare used that
   5                discretion to choose not to allow the Websites to use Cloudflare’s

   6                network?
             Cloudflare designated Trey Guinn to testify concerning these topics. Cloudflare
   7
       confirmed this in a letter and Mr. Guinn testified that he was prepared to address Topics
   8
       13-16. Spillane Decl. ¶¶ 5, 8, Exs. B, C, G.
   9
             Mr. Guinn testified that Mr. Prince’s statement that Cloudflare kicked Daily
 10
       Stormer off the internet was not true, and admitted that Mr. Prince knew the statement
 11
       to be untrue. When asked whether Mr. Prince intended to mislead the public, Mr.
 12
       Guinn offered non-responsive pablum. Spillane Decl. ¶¶ 9, 10, Ex. G.
 13
             When asked the basis for Mr. Prince’s determination that neo-Nazi speech was a
 14
       violation of Terms warranting termination of services, Mr. Guinn gave non-responsive
 15
       pablum concerning the intended effect of the termination, that Cloudflare was
 16
       attempting to be “provocative” and “start a conversation.” Spillane Decl. ¶ 11. Mr.
 17
       Guinn admitted that he had not prepared for the deposition by speaking to Mr. Prince,
 18
       but surmised his reasoning based upon knowing him and also statements that Mr.
 19
       Prince had made public. Id. Mr. Guinn sowed confusion by stating that engaging in
 20
       neo-Nazi hate speech is not a violation of Cloudflare’s Terms. Id. When pressed on the
 21
       canned answer that Mr. Prince was attempting to “start a conversation,” Mr. Guinn
 22
       gave rambling answers in which he said in the same sentence that Mr. Prince was
 23
       “provocative” yet “bowed to public pressure,” ultimately devolving into admissions
 24
       that the decision to terminate Daily Stormer was in the “discretion” and “say” of Mr.
 25
       Prince. Id. When asked questions about why Cloudflare doesn’t kick copyright
 26
       infringers off the Internet if it can kick neo-Nazis off the Internet, Cloudflare tried to
 27
       pull Mr. Guinn as the designee for this topic, then he admitted that the decision whether
 28
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   1 to terminate customers for repeat copyright infringement was also at the discretion of
   2 Mr. Prince. Spillane Decl. ¶ 12, Ex. G.
   3         Mr. Guinn’s inability to testify to Mr. Prince’s rationale for terminating service
   4 to Daily Stormer is underscored by public disclosure of an email Mr. Prince sent to
   5 Cloudflare personnel. Mr. Prince told his employees he made an “arbitrary” decision to
   6 terminate services to Daily Stormer because he woke up in a “bad mood” and
   7 concluded they were “assholes.”
   8               “Team:
   9
                   Earlier today Cloudflare terminated the account of the Daily
 10          Stormer. We’ve stopped proxying their traffic and stopped answering
             DNS requests for their sites. We’ve taken measures to ensure that they
 11
             cannot sign up for Cloudflare’s services again.
 12
                    This was my decision. Our terms of services reserve the right for us
 13
             to terminate users of our network at our sole discretion. My rationale for
 14          making this decision was simple: the people behind the Daily Stormer are
             assholes and I’d had enough.
 15
 16                 Let me be clear: this was an arbitrary decision. It was different than
             what I’d talked talked [sic] with our senior team about yesterday. I woke
 17
             up this morning in a bad mood and decided to kick them off the Internet. I
 18          called our legal team and told them what we were going to do. I called our
 19          Trust & Safety team and had them stop the service. It was a decision I
             could make because I’m the CEO of a major Internet infrastructure
 20          company.”
 21
       Cloudflare CEO on Terminating Service to Neo-Nazi Site: ‘The Daily Stormer Are
 22
       Assholes’ (Aug. 16, 2017), available at http://gizmodo.com/cloudflare-ceo-on-
 23
       terminating-service-to-neo-nazi-site-1797915295.
 24
             B.    Legal Standard
 25
             Federal Rule of Civil Procedure Rule 30(a)(1) broadly provides that a party
 26
       “may, by oral questions, depose any person, including a party, without leave of
 27
       court[.]” A party seeking to prevent a deposition must show “good cause,” FRCP R.
 28
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   1 26(c), specifically a particular and specific need for protection. Blankenship v. Hearst
   2 Corp., 519 F.2d 418, 429 (9th Cir. 1975).
   3        When courts have barred or limited a deposition of a high corporate officer, this
   4 is because the witness lacked personal knowledge and it appeared the deposition was
   5 for purposes of harassment. However, “[w]hen a witness has personal knowledge of
   6 facts relevant to the lawsuit, even a corporate president or CEO is subject to
   7 deposition.” Apple Inc. v. Samsung Electronics Co., Ltd., 282 F.R.D. 259, 263 (N.D.
   8 Cal. 2012). See also First United Methodist Church of San Jose v. Atlantic Mut. Ins.
   9 Co., 1995 WL 566026 at *2 (N.D. Cal. 1995) [holding plaintiff could depose
 10 defendant’s CEO on his motivations behind the general policy decision to stop insuring
 11 churches (of which plaintiff was one) in general]; Finisar Corp. v. Nistica, Inc., 13-cv-
 12 03345-BLF (N.D. Cal. 6/29/15) (compelling deposition of CEO who had unique and
 13 non-repetitive knowledge of the facts at issue and where prior depositions failed to
 14 yield complete information).
 15         In Apple, the plaintiff sought to depose Samsung’s CEO over Samsung’s
 16 objections. Id. at 264. Samsung had produced a Rule 30(b)(6) witness who had
 17 testified that the strategy about which the plaintiff sought to depose the CEO did not
 18 play a role in the development of the relevant products or features. Id. Nevertheless, the
 19 court in that case allowed the deposition to proceed, and balanced the parties’ interests
 20 by limiting the time allotted for the deposition to two hours. Id. at 265. Similarly, the
 21 court allowed the plaintiff to depose the EVP in light of evidence that he had personally
 22 ordered a comparison of the relevant products for a presentation. Id. at 266. The
 23 dispositive question before the court in both instances was whether the would-be
 24 deponent had engaged in “hands-on action” demonstrative of unique personal
 25 knowledge. Id. at 265.
 26         The second factor courts consider is whether other available means of discovery
 27 may yield the relevant information. However, the party seeking the deposition is not
 28 required to exhaust futile discovery methods. Instead, courts consider whether “the
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   1 information can be obtained through less intrusive discovery methods (such as
   2 interrogatories) or from depositions of lower-level employees with more direct
   3 knowledge of the facts at issue.” Groupion, 2012 WL 359699 at *2 (emphases
   4 supplied), quoting Afinity Labs of Texas v. Apple, Inc., 2011 WL 1753982 at *15 (N.D.
   5 Cal. 2011). Put another way, the availability of obtaining information from other means
   6 is as relevant to this analysis as a party’s efforts in exhausting those available methods.
   7 See Apple, 282 F.R.D. at 263 (“The court therefore looks . . . to the availability or
   8 exhaustion of other less burdensome discovery methods.”). Therefore, when the
   9 information sought is unique to the apex deponent, other less intrusive discovery
 10 methods are unavailable. For example, in Apple, the court permitted Apple to depose
 11 Samsung’s EVP where his unique personal knowledge could not “be supplied by other
 12 means.” Id. at 267. Apple was also allowed to depose Samsung’s SVP of R&D even
 13 though Apple arguably had failed to ask relevant questions of a lower-level deponent,
 14 because the court determined the SVP would have unique personal knowledge that
 15 could not be gleaned by deposing anyone else. Id. at 267-68.
 16          C.    Argument
 17          Cloudflare urges this Court to prevent ALS Scan from taking Mr. Prince’s
 18 deposition, but Mr. Prince has knowledge that is not merely cumulative of that offered
 19 by Cloudflare’s Rule 30(b)(6) designees. By his own admissions, Mr. Prince’s decision
 20 to terminate certain users’ accounts was “arbitrary,” the result of him waking up “in a
 21 bad mood,” and a decision he made unilaterally as “CEO of a major Internet
 22 infrastructure corporation.” Mr. Prince has made it clear that he is the one who
 23 determines the circumstances under which Cloudflare will terminate a user’s account.
 24         1.     Mr. Prince has unique personal first-hand knowledge of facts that are
      relevant to this case.
 25
 26          Cloudflare’s ability to terminate an account is central to this case. To avail itself
 27 of safe harbor, an Internet Service Provider (“ISP”) must adopt and reasonably
 28 implement a policy that provides for the termination of repeat infringers’ accounts. 17
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   1 U.S.C. § 512(i)(1)(A). Yet Cloudflare, in arguing that it has reasonably implemented its
   2 policy, points (in part) to limitations in its ability to terminate an infringing user’s
   3 account.
   4        Mr. Paine clarified during his deposition that Cloudflare does not include any
   5 language in its terms of service that reference a repeat infringer policy. Spillane Decl.
   6 ¶¶ 5-7. Indeed, the terms of service do not identify the circumstances under which a
   7 repeat infringer’s account will be terminated. Id. Thus, to satisfy its obligations under
   8 17 U.S.C. § 512(i)(1)(A), Cloudflare relies upon discretionary decision-making.
   9        In addition to whatever mechanism Cloudflare allegedly employs, Mr. Prince
 10 was able to decide on his own to terminate a user’s account. Since Cloudflare has the
 11 discretion to terminate accounts and Mr. Prince exercises his discretion personally to do
 12 so, his decision to terminate certain accounts while continuing to provide services to
 13 repeat infringers for whom Cloudflare has received thousands of take-down notices is
 14 dispositive in determining whether Cloudflare reasonably implements its (apparently
 15 discretionary and unofficial) policy against repeat infringers.
 16         Under Apple, Mr. Prince can be subject to deposition if he has unique personal
 17 knowledge of the facts of the case. One of the facts at issue here is that Cloudflare did
 18 not exercise its discretion to terminate the infringers’ accounts. As Trey Guinn testified,
 19 Mr. Prince plays a role in deciding whether or not to do so. Spillane Decl. ¶ 12.
 20 Furthermore, nobody but Mr. Prince knows his motivations or the rationale behind his
 21 decision to terminate select user accounts. This is the kind of hands-on involvement
 22 that drove the court’s decision to permit certain depositions in Apple.
 23         Cloudflare cannot meet its burden of proof here under Blankenship; specifically,
 24 it has failed to show any burden or risk of prejudice to Mr. Prince other than the fact
 25 that this deposition will be inconvenient to him as a CEO. However, it is not arguing
 26 that Mr. Prince did not make the statements described above or that he is not able to
 27 terminate user accounts.
 28
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   1        2.     ALS Scan has not discovered the information sought through other
   2 means.
   3        As in Apple, here ALS Scans does not need to show that it has exhausted every
   4 other method of discovery where there is simply no other method that would reveal the
   5 necessary information. By his own admission, Mr. Prince made the decision to
   6 terminate user accounts on his own. Any other employee would only be able to testify
   7 as to Cloudflare’s general policy; however, apparently in practice its policy includes
   8 allowing Mr. Prince to terminate accounts at his discretion. When his discretion is at
   9 issue, no Rule 30(b)(6) designee can offer the necessary testimony.
 10         As discussed above, ALS Scans has deposed other Cloudflare employees in an
 11 effort to ascertain this information, but they cannot provide insight into Mr. Prince’s
 12 rationale or decision-making process. Instead, during his deposition, Cloudflare
 13 designee Trey Guinn confirmed that the decision of whether to terminate the accounts
 14 of copyright infringers would belong, at least in part, to Mr. Prince. Spillane Decl. ¶ 12.
 15 Thus, applying the standard expressed in Groupion, there is no available lower-level
 16 employee whose testimony can be exhausted.
 17         Besides, ALS Scan has already taken the depositions of Cloudflare’s Rule
 18 30(b)(6) designees. As in Apple, these employees were unable to offer testimony
 19 concerning Mr. Prince’s state of mind. Likewise, again as in Apple, the fact that
 20 another employee might have been able to offer insight does not operate to bar ALS
 21 Scans from proceeding with deposing Mr. Prince. Instead, the question is whether ALS
 22 Scans has other methods available for obtaining this information. Cloudflare identified
 23 Mr. Guinn as its deponent, and Mr. Guinn admitted that he had not spoken with Mr.
 24 Prince about the motivation behind the decision to terminate The Daily Stormer’s
 25 account. Spillane Decl. ¶ 11. Therefore, he cannot offer testimony to Mr. Prince’s state
 26 of mind or decision-making process. Besides, ALS Scans is not required to show that
 27 any testimony it would receive from Mr. Prince would be non-repetitive of the
 28 testimony obtained from lower-level employees. See First United Methodist Church,
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   1 1995 WL 566026 at *3. The purpose of deposing Mr. Prince is to determine what
   2 information he has as a decision-maker that other employees do not. See id.
   3        The evidence has both demonstrated that Mr. Prince has first-hand knowledge
   4 relevant to this issue and that his unique knowledge is unavailable by any other means.
   5 No other employee can testify to Mr. Prince’s decision-making process when it comes
   6 to terminating a user’s access. See Spillane Decl. ¶ 11. No other employee can offer an
   7 explanation as to why The Daily Stormer’s account was terminated while repeat
   8 infringers’ accounts are allowed to remain. Id. In a case where Mr. Prince’s personal
   9 judgment appears to govern even over Cloudflare’s own policies and procedures,
 10 Cloudflare cannot meet its heavy burden of demonstrating why he should not be
 11 deposed.
 12 V.      CONCLUSIONS
 13         A.     Cloudflare’s Conclusion
 14         Mr. Prince is irrelevant to ALS Scan’s copyright claims against Cloudflare. Mr.
 15 Prince has no direct personal knowledge relevant to this case, let alone unique and non-
 16 cumulative personal knowledge. Further, ALS Scan has not exhausted less burdensome
 17 options for discovery, including depositions of lower-level employees equally or more
 18 knowledgeable about the subject of the 30(b)(6) topics ALS Scan served covering the
 19 subjects about which it seeks to depose Mr. Prince.
 20         The deposition of Mr. Prince would pose an unreasonable, unnecessary, and
 21 significant burden on Mr. Prince and Cloudflare. Cloudflare’s motion for a protective
 22 order should be granted, and Cloudflare and Mr. Prince should be relieved from any
 23 obligation to respond to ALS Scan’s deposition notice to Mr. Prince.
 24         B.     ALS Scan’s Conclusion
 25         ALS Scan is not required to prove that it has exhausted discovery when there are
 26 no other means available, and nothing short of Mr. Prince’s deposition will reveal the
 27 necessary information. Cloudflare argues that its repeat infringer policy is adequate but
 28 has demonstrated that it can (and will) terminate a user’s account if Mr. Prince so
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   1 wishes. ALS Scan seeks to depose Mr. Prince to assess the credibility of Cloudflare’s
   2 argument that it employs a rigorous repeat infringer policy that puts it within the
   3 DMCA’s safe harbor protections.
   4        No other Rule 30(b)(6) deponent will suffice. Mr. Prince has demonstrated that
   5 he operates outside the company’s regular policies. Since he has taken it upon himself
   6 to select user accounts for termination, his unique personal knowledge is now relevant
   7 to the question of Cloudflare’s capabilities, policies, and procedures for determining
   8 which users’ accounts should be terminated.
   9
 10 Dated: September 11, 2017                     Respectfully submitted,
 11                                               QUINN EMANUEL URQUHART &
 12                                               SULLIVAN LLP

 13
 14                                            By
 15                                              Rachel Kassabian
                                                 Attorney for Defendant Cloudflare, Inc.
 16
 17
 18
       Dated: September 19, 2017                  Respectfully submitted,
 19
                                                  SPILLANE TRIAL GROUP PLC
 20
 21
 22                                            By
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 23                                              Attorney for Plaintiff ALS Scan, Inc.
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